"Case 3:51-bv-01247-JO-SBC Document 1077 Filed 01/23/52 PagelD.2554 ‘Page 1
“™ IN THE UNITED STATES DISTRIC: “COURT
Southern District of California
Southern Division
1 Mary Turk
, Name
Zz Q 2
Address
3 R14 ‘44 ‘
City and State
4 None
5 Telephone Number
Defendant
8
7
8 UNITED STATES OF AMERICA )
)
9 Plaintiff, }
10 vs. } No. 1247
11 FALLBROOK PUBLIC UTILITY )
DISTRICT, et al., )
12 )
Defendants, )
13)
14 Comes now the defendant (s)____Mary Turk, sued herein
15 i
16 and for himself or themselves alone and answering plaintiff's complaint on
17 file, herein denies (deny) each and every material allegation contained thereiu.
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19 WYorsy Saher
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21
22
23 FILE D
"24
3s JAN 23 1952
EDMUND L, SMITH, Clerk
26}; om» Brady BoE
DEPUTY CLERK
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